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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT iw

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for the b- “ Sale by
Middle District of Pennsylvania OY ge IE
B foe fog
United States of America ) Gr aa
V. ) .

) Case No. S 18M T7 G

JOHN JACOB HASAY )
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)

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Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of 11/3/17 to 1/27/18 in the county of Luzerne in the
Middle District of Pennsylvania , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(0) Possession of a machinegun
26 U.S.C. § 5861(d) Possession of an unregistered firearm

This criminal complaint is based on these facts:
See Attached Affidavit

@ Continued on the attached sheet.

Gn Aa

Complainant's signature

Brian Austin, Special A ent, FBI

Printed name and title

Sworn to before me and signed in my presence.

Date: August 22 ZOIS

City and state: Wilkes-Barre, Pennsylvania Hon. Joseph Saporito, Jr., U.S. Magistrate Judge

Printed name and title

 

 
